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            EXHIBIT B
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
    1   CRTA1-10010220
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    2   CRTA1-10013040
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    3   CRTA1-10016333
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    4   CRTA1-10020101
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    5   CRTA1-10032690
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    6   CRTA1-10032703
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    7   CRTA1-10034480
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    8   CRTA1-10039503
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
    9   CRTA1-10049290
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   10 CRTA1-10063420
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   11 CRTA1-10066098
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   12 CRTA1-10074678
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   13 CRTA1-10078401
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   14 CRTA1-10091157
                             submitted in response to request from KCC
   15 CRTA1-40000222         Indirect and/or non-Defendant purchases
                             Documentation insufficient to substantiate claim or no documentation
   16 CRTA1-40000311
                             submitted in response to request from KCC
   17 CRTA1-40000338         Claim deemed to be fraudulent

   18 CRTA1-40000370         Claim deemed to be fraudulent

   19 CRTA1-40000451         Claim deemed to be fraudulent

   20 CRTA1-40000494         Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   21 CRTA1-40000524         Ineligible purchases claimed

   22 CRTA1-40000540         Claim deemed to be fraudulent

   23 CRTA1-40000559         Claim deemed to be fraudulent

   24 CRTA1-40000702         Claim deemed to be fraudulent

   25 CRTA1-40000710         Claim deemed to be fraudulent

   26 CRTA1-40000869         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   27 CRTA1-40000885
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   28 CRTA1-40000907
                             submitted in response to request from KCC
   29 CRTA1-40000940         Claim deemed to be fraudulent

   30 CRTA1-40001083         Claim deemed to be fraudulent

   31 CRTA1-40001121         Claim deemed to be fraudulent

   32 CRTA1-40001229         Claim deemed to be fraudulent

   33 CRTA1-40001300         Claim deemed to be fraudulent

   34 CRTA1-40001326         Claim deemed to be fraudulent

   35 CRTA1-40001385         Claim deemed to be fraudulent

   36 CRTA1-40001555         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   37 CRTA1-40001768
                             submitted in response to request from KCC
   38 CRTA1-40002381         Claim deemed to be fraudulent

   39 CRTA1-40002446         Claim deemed to be fraudulent

   40 CRTA1-40002470         Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   41 CRTA1-40002489         Claim deemed to be fraudulent

   42 CRTA1-40005151         Claim deemed to be fraudulent

   43 CRTA1-40005917         Claim deemed to be fraudulent

   44 CRTA1-40007103         Claim deemed to be fraudulent

   45 CRTA1-40007111         Claim deemed to be fraudulent

   46 CRTA1-40007138         Claim deemed to be fraudulent

   47 CRTA1-40007146         Claim deemed to be fraudulent

   48 CRTA1-40007499         Ineligible purchases claimed
                             Documentation insufficient to substantiate claim or no documentation
   49 CRTA1-40007901
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   50 CRTA1-40008380
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   51 CRTA1-40008657
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   52 CRTA1-40009750
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   53 CRTA1-40009882
                             submitted in response to request from KCC
   54 CRTA1-40010210         Claimant is a defendant-affiliated entity
                             Documentation insufficient to substantiate claim or no documentation
   55 CRTA1-40010228
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   56 CRTA1-40010236
                             submitted in response to request from KCC
   57 CRTA1-40010392         Claimant is a defendant-affiliated entity

   58 CRTA1-40010570         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   59 CRTA1-40010724
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   60 CRTA1-40010821
                             submitted in response to request from KCC
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   61 CRTA1-40010961         Claim deemed to be fraudulent

   62 CRTA1-40010988         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   63 CRTA1-40011020
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   64 CRTA1-40011046
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   65 CRTA1-40011267
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   66 CRTA1-40011283
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   67 CRTA1-40011330
                             submitted in response to request from KCC
   68 CRTA1-40011356         Claim deemed to be fraudulent

   69 CRTA1-40011372         Claim deemed to be fraudulent

   70 CRTA1-40011380         Claim deemed to be fraudulent

   71 CRTA1-40011399         Claim deemed to be fraudulent

   72 CRTA1-40011402         Claim deemed to be fraudulent

   73 CRTA1-40011410         Claim deemed to be fraudulent

   74 CRTA1-40011437         Claim deemed to be fraudulent

   75 CRTA1-40011445         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   76 CRTA1-40011488
                             submitted in response to request from KCC
   77 CRTA1-40011526         Claim deemed to be fraudulent

   78 CRTA1-40011534         Claim deemed to be fraudulent

   79 CRTA1-40011542         Claim deemed to be fraudulent

   80 CRTA1-40011550         Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   81 CRTA1-40011569         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   82 CRTA1-40011585
                             submitted in response to request from KCC
   83 CRTA1-40011755         Claim deemed to be fraudulent

   84 CRTA1-40011763         Claim deemed to be fraudulent

   85 CRTA1-40011771         Claim deemed to be fraudulent

   86 CRTA1-40011780         Claim deemed to be fraudulent

   87 CRTA1-40011798         Claim deemed to be fraudulent

   88 CRTA1-40011976         Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   89 CRTA1-40012000
                             submitted in response to request from KCC
   90 CRTA1-40012018         Ineligible purchases claimed
                             Documentation insufficient to substantiate claim or no documentation
   91 CRTA1-40012050
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   92 CRTA1-40012085
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   93 CRTA1-40012352
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   94 CRTA1-40012417
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   95 CRTA1-40012425
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   96 CRTA1-40012450
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   97 CRTA1-40012484
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   98 CRTA1-40012506
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   99 CRTA1-40012883
                             submitted in response to request from KCC
   100 CRTA1-40013006        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   101 CRTA1-40013146
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   102 CRTA1-40013162
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   103 CRTA1-40013170
                             submitted in response to request from KCC
   104 CRTA1-40013227        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   105 CRTA1-40013260
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   106 CRTA1-40013278
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   107 CRTA1-40013294
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   108 CRTA1-40013359
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   109 CRTA1-40013383
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   110 CRTA1-40013391
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   111 CRTA1-40013430
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   112 CRTA1-40013510
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   113 CRTA1-40013642
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   114 CRTA1-40013758
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   115 CRTA1-40013987
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   116 CRTA1-40014320
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   117 CRTA1-40014525
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   118 CRTA1-40014533
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   119 CRTA1-40014541
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   120 CRTA1-40014550
                             submitted in response to request from KCC
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   121 CRTA1-40014576
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   122 CRTA1-40014584
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   123 CRTA1-40014592
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   124 CRTA1-40014606
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   125 CRTA1-40014614
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   126 CRTA1-40014762
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   127 CRTA1-40014770
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   128 CRTA1-40014789
                             submitted in response to request from KCC
   129 CRTA1-40014860        Indirect and/or non-Defendant purchases
                             Documentation insufficient to substantiate claim or no documentation
   130 CRTA1-40015491
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   131 CRTA1-40015505
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   132 CRTA1-40015513
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   133 CRTA1-40015521
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   134 CRTA1-40015530
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   135 CRTA1-40015548
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   136 CRTA1-40015556
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   137 CRTA1-40015572
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   138 CRTA1-40015580
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   139 CRTA1-40015599
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   140 CRTA1-40015602
                             submitted in response to request from KCC
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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   141 CRTA1-40015700
                             submitted in response to request from KCC
   142 CRTA1-40157535        Claim deemed to be fraudulent

   143 CRTA1-40158019        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   144 CRTA1-40158140
                             submitted in response to request from KCC
   145 CRTA1-40158167        Claim deemed to be fraudulent

   146 CRTA1-40158213        Claim deemed to be fraudulent

   147 CRTA1-40158221        Claim deemed to be fraudulent

   148 CRTA1-40158345        Claim deemed to be fraudulent

   149 CRTA1-40158370        Claim deemed to be fraudulent

   150 CRTA1-40158485        Claim deemed to be fraudulent

   151 CRTA1-40158663        Claim deemed to be fraudulent

   152 CRTA1-40158671        Claim deemed to be fraudulent

   153 CRTA1-40158698        Claim deemed to be fraudulent

   154 CRTA1-40158701        Claim deemed to be fraudulent

   155 CRTA1-40158736        Claim deemed to be fraudulent

   156 CRTA1-40158787        Claim deemed to be fraudulent

   157 CRTA1-40158795        Claim deemed to be fraudulent

   158 CRTA1-40158825        Claim deemed to be fraudulent

   159 CRTA1-40158841        Claim deemed to be fraudulent

   160 CRTA1-40158868        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   161 CRTA1-40158884        Claim deemed to be fraudulent

   162 CRTA1-40158914        Claim deemed to be fraudulent

   163 CRTA1-40158930        Claim deemed to be fraudulent

   164 CRTA1-40158949        Claim deemed to be fraudulent

   165 CRTA1-40158965        Claim deemed to be fraudulent

   166 CRTA1-40159031        Claim deemed to be fraudulent

   167 CRTA1-40159058        Claim deemed to be fraudulent

   168 CRTA1-40159074        Claim deemed to be fraudulent

   169 CRTA1-40159082        Claim deemed to be fraudulent

   170 CRTA1-40159090        Claim deemed to be fraudulent

   171 CRTA1-40159120        Claim deemed to be fraudulent

   172 CRTA1-40159139        Claim deemed to be fraudulent

   173 CRTA1-40159155        Claim deemed to be fraudulent

   174 CRTA1-40159171        Claim deemed to be fraudulent

   175 CRTA1-40159236        Claim deemed to be fraudulent

   176 CRTA1-40159252        Claim deemed to be fraudulent

   177 CRTA1-40159260        Claim deemed to be fraudulent

   178 CRTA1-40159287        Claim deemed to be fraudulent

   179 CRTA1-40159295        Claim deemed to be fraudulent

   180 CRTA1-40159333        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   181 CRTA1-40159406        Claim deemed to be fraudulent

   182 CRTA1-40159414        Claim deemed to be fraudulent

   183 CRTA1-40159430        Claim deemed to be fraudulent

   184 CRTA1-40159449        Claim deemed to be fraudulent

   185 CRTA1-40159457        Claim deemed to be fraudulent

   186 CRTA1-40159490        Claim deemed to be fraudulent

   187 CRTA1-40159538        Claim deemed to be fraudulent

   188 CRTA1-40159554        Claim deemed to be fraudulent

   189 CRTA1-40159589        Claim deemed to be fraudulent

   190 CRTA1-40159597        Claim deemed to be fraudulent

   191 CRTA1-40159627        Claim deemed to be fraudulent

   192 CRTA1-40159635        Claim deemed to be fraudulent

   193 CRTA1-40159678        Claim deemed to be fraudulent

   194 CRTA1-40159686        Claim deemed to be fraudulent

   195 CRTA1-40159716        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   196 CRTA1-40159724
                             submitted in response to request from KCC
   197 CRTA1-40159732        Claim deemed to be fraudulent

   198 CRTA1-40159740        Claim deemed to be fraudulent

   199 CRTA1-40159759        Claim deemed to be fraudulent

   200 CRTA1-40159767        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   201 CRTA1-40159775        Claim deemed to be fraudulent

   202 CRTA1-40159783        Claim deemed to be fraudulent

   203 CRTA1-40159813        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   204 CRTA1-40159821
                             submitted in response to request from KCC
   205 CRTA1-40159830        Claim deemed to be fraudulent

   206 CRTA1-40159848        Claim deemed to be fraudulent

   207 CRTA1-40159880        Claim deemed to be fraudulent

   208 CRTA1-40159899        Claim deemed to be fraudulent

   209 CRTA1-40159929        Claim deemed to be fraudulent

   210 CRTA1-40159937        Claim deemed to be fraudulent

   211 CRTA1-40159945        Claim deemed to be fraudulent

   212 CRTA1-40159953        Claim deemed to be fraudulent

   213 CRTA1-40159996        Claim deemed to be fraudulent

   214 CRTA1-40160021        Claim deemed to be fraudulent

   215 CRTA1-40160030        Claim deemed to be fraudulent

   216 CRTA1-40160048        Claim deemed to be fraudulent

   217 CRTA1-40160099        Claim deemed to be fraudulent

   218 CRTA1-40160102        Claim deemed to be fraudulent

   219 CRTA1-40160110        Claim deemed to be fraudulent

   220 CRTA1-40160129        Claim deemed to be fraudulent

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Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   221 CRTA1-40160145        Claim deemed to be fraudulent

   222 CRTA1-40160226        Claim deemed to be fraudulent

   223 CRTA1-40160234        Claim deemed to be fraudulent

   224 CRTA1-40160242        Claim deemed to be fraudulent

   225 CRTA1-40160250        Claim deemed to be fraudulent

   226 CRTA1-40160269        Claim deemed to be fraudulent

   227 CRTA1-40160285        Claim deemed to be fraudulent

   228 CRTA1-40160293        Claim deemed to be fraudulent

   229 CRTA1-40160307        Claim deemed to be fraudulent

   230 CRTA1-40160315        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   231 CRTA1-40160323
                             submitted in response to request from KCC
   232 CRTA1-40160331        Claim deemed to be fraudulent

   233 CRTA1-40160340        Claim deemed to be fraudulent

   234 CRTA1-40160374        Claim deemed to be fraudulent

   235 CRTA1-40160382        Claim deemed to be fraudulent

   236 CRTA1-40160412        Claim deemed to be fraudulent

   237 CRTA1-40160420        Claim deemed to be fraudulent

   238 CRTA1-40160447        Claim deemed to be fraudulent

   239 CRTA1-40160455        Claim deemed to be fraudulent

   240 CRTA1-40160463        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   241 CRTA1-40160471        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   242 CRTA1-40160498
                             submitted in response to request from KCC
   243 CRTA1-40160501        Claim deemed to be fraudulent

   244 CRTA1-40160510        Indirect and/or non-Defendant purchases

   245 CRTA1-40160544        Claim deemed to be fraudulent

   246 CRTA1-40160552        Claim deemed to be fraudulent

   247 CRTA1-40160560        Claim deemed to be fraudulent

   248 CRTA1-40160595        Claim deemed to be fraudulent

   249 CRTA1-40160609        Claim deemed to be fraudulent

   250 CRTA1-40160617        Claim deemed to be fraudulent

   251 CRTA1-40160625        Claim deemed to be fraudulent

   252 CRTA1-40160633        Indirect and/or non-Defendant purchases

   253 CRTA1-40160641        Claim deemed to be fraudulent

   254 CRTA1-40160650        Claim deemed to be fraudulent

   255 CRTA1-40160684        Claim deemed to be fraudulent

   256 CRTA1-40160692        Indirect and/or non-Defendant purchases

   257 CRTA1-40160781        Claim deemed to be fraudulent

   258 CRTA1-40160790        Claim deemed to be fraudulent

   259 CRTA1-40160803        Claim deemed to be fraudulent

   260 CRTA1-40160811        Claim deemed to be fraudulent

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In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   261 CRTA1-40160820        Claim deemed to be fraudulent

   262 CRTA1-40160838        Indirect and/or non-Defendant purchases

   263 CRTA1-40160862        Claim deemed to be fraudulent

   264 CRTA1-40160870        Claim deemed to be fraudulent

   265 CRTA1-40160897        Claim deemed to be fraudulent

   266 CRTA1-40160900        Indirect and/or non-Defendant purchases

   267 CRTA1-40160919        Indirect and/or non-Defendant purchases

   268 CRTA1-40160927        Claim deemed to be fraudulent

   269 CRTA1-40160935        Claim deemed to be fraudulent

   270 CRTA1-40160943        Claim deemed to be fraudulent

   271 CRTA1-40160951        Claim deemed to be fraudulent

   272 CRTA1-40160960        Indirect and/or non-Defendant purchases

   273 CRTA1-40160978        Claim deemed to be fraudulent

   274 CRTA1-40160986        Claim deemed to be fraudulent

   275 CRTA1-40160994        Claim deemed to be fraudulent

   276 CRTA1-40161001        Claim deemed to be fraudulent

   277 CRTA1-40161010        Indirect and/or non-Defendant purchases

   278 CRTA1-40161028        Claim deemed to be fraudulent

   279 CRTA1-40161044        Indirect and/or non-Defendant purchases

   280 CRTA1-40161052        Indirect and/or non-Defendant purchases

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           Claim ID                                    Reason for Ineligibility
   281 CRTA1-40161060        Indirect and/or non-Defendant purchases

   282 CRTA1-40161079        Indirect and/or non-Defendant purchases

   283 CRTA1-40161087        Indirect and/or non-Defendant purchases

   284 CRTA1-40161109        Claim deemed to be fraudulent

   285 CRTA1-40161117        Claim deemed to be fraudulent

   286 CRTA1-40161125        Indirect and/or non-Defendant purchases

   287 CRTA1-40161133        Claim deemed to be fraudulent

   288 CRTA1-40161141        Indirect and/or non-Defendant purchases

   289 CRTA1-40161150        Claim deemed to be fraudulent

   290 CRTA1-40161168        Indirect and/or non-Defendant purchases

   291 CRTA1-40161176        Claim deemed to be fraudulent

   292 CRTA1-40161184        Indirect and/or non-Defendant purchases

   293 CRTA1-40161192        Indirect and/or non-Defendant purchases

   294 CRTA1-40161206        Claim deemed to be fraudulent

   295 CRTA1-40161214        Indirect and/or non-Defendant purchases

   296 CRTA1-40161222        Claim deemed to be fraudulent

   297 CRTA1-40161230        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   298 CRTA1-40161346
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   299 CRTA1-40161389
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   300 CRTA1-40161397
                             submitted in response to request from KCC
                                                                                                    P. 15 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   301 CRTA1-40161419        Claim deemed to be fraudulent

   302 CRTA1-40161427        Claim deemed to be fraudulent

   303 CRTA1-40161435        Indirect and/or non-Defendant purchases

   304 CRTA1-40161486        Claim deemed to be fraudulent

   305 CRTA1-40161508        Claim deemed to be fraudulent

   306 CRTA1-40161516        Claim deemed to be fraudulent

   307 CRTA1-40161753        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   308 CRTA1-40161800
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   309 CRTA1-40161818
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   310 CRTA1-40161826
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   311 CRTA1-40161834
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   312 CRTA1-40161842
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   313 CRTA1-40161850
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   314 CRTA1-40161869
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   315 CRTA1-40161877
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   316 CRTA1-40161885
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   317 CRTA1-40161893
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   318 CRTA1-40161907
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   319 CRTA1-40161915
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   320 CRTA1-40161923
                             submitted in response to request from KCC
                                                                                                    P. 16 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   321 CRTA1-40161931
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   322 CRTA1-40161940
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   323 CRTA1-40161958
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   324 CRTA1-40161966
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   325 CRTA1-40161974
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   326 CRTA1-40161982
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   327 CRTA1-40161990
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   328 CRTA1-40162008
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   329 CRTA1-40162016
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   330 CRTA1-40162024
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   331 CRTA1-40162032
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   332 CRTA1-40162040
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   333 CRTA1-40162059
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   334 CRTA1-40162067
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   335 CRTA1-40162075
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   336 CRTA1-40162083
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   337 CRTA1-40162091
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   338 CRTA1-40162105
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   339 CRTA1-40162113
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   340 CRTA1-40162121
                             submitted in response to request from KCC
                                                                                                    P. 17 of 29
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           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   341 CRTA1-40162130
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   342 CRTA1-40162148
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   343 CRTA1-40162156
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   344 CRTA1-40162164
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   345 CRTA1-40162172
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   346 CRTA1-40162180
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   347 CRTA1-40162199
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   348 CRTA1-40162202
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   349 CRTA1-40162210
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   350 CRTA1-40162229
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   351 CRTA1-40162237
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   352 CRTA1-40162245
                             submitted in response to request from KCC
   353 CRTA1-40162288        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   354 CRTA1-40162385
                             submitted in response to request from KCC
   355 CRTA1-40162423        Claim deemed to be fraudulent

   356 CRTA1-40162490        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   357 CRTA1-40162512
                             submitted in response to request from KCC
   358 CRTA1-40162580        Claim deemed to be fraudulent

   359 CRTA1-40162660        Claim deemed to be fraudulent

   360 CRTA1-40162687        Claim deemed to be fraudulent

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           Claim ID                                    Reason for Ineligibility
   361 CRTA1-40162695        Claim deemed to be fraudulent

   362 CRTA1-40162709        Claim deemed to be fraudulent

   363 CRTA1-40162776        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   364 CRTA1-40162792
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   365 CRTA1-40162806
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   366 CRTA1-40162814
                             submitted in response to request from KCC
   367 CRTA1-40162822        Claim deemed to be fraudulent

   368 CRTA1-40162830        Claim deemed to be fraudulent

   369 CRTA1-40162849        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   370 CRTA1-40163063
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   371 CRTA1-40163110
                             submitted in response to request from KCC
   372 CRTA1-40163306        Claim deemed to be fraudulent

   373 CRTA1-40163314        Claim deemed to be fraudulent

   374 CRTA1-40163322        Claim deemed to be fraudulent

   375 CRTA1-40163330        Claim deemed to be fraudulent

   376 CRTA1-40163349        Claim deemed to be fraudulent

   377 CRTA1-40163357        Claim deemed to be fraudulent

   378 CRTA1-40163365        Claim deemed to be fraudulent

   379 CRTA1-40163373        Claim deemed to be fraudulent

   380 CRTA1-40163381        Claim deemed to be fraudulent

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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                    Reason for Ineligibility
   381 CRTA1-40163390        Claim deemed to be fraudulent

   382 CRTA1-40163403        Claim deemed to be fraudulent

   383 CRTA1-40163411        Claim deemed to be fraudulent

   384 CRTA1-40163420        Claim deemed to be fraudulent

   385 CRTA1-40163438        Claim deemed to be fraudulent

   386 CRTA1-40163560        Claim deemed to be fraudulent

   387 CRTA1-40163616        Claim deemed to be fraudulent

   388 CRTA1-40163624        Claim deemed to be fraudulent

   389 CRTA1-40163640        Claim deemed to be fraudulent

   390 CRTA1-40163659        Claim deemed to be fraudulent

   391 CRTA1-40163667        Claim deemed to be fraudulent

   392 CRTA1-40163675        Claim deemed to be fraudulent

   393 CRTA1-40163683        Claim deemed to be fraudulent

   394 CRTA1-40163713        Claim deemed to be fraudulent

   395 CRTA1-70000069        Claim deemed to be fraudulent

   396 CRTA1-70000077        Claim deemed to be fraudulent

   397 CRTA1-70000085        Claim deemed to be fraudulent

   398 CRTA1-70000093        Claim deemed to be fraudulent

   399 CRTA1-70000107        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   400 CRTA1-70000212
                             submitted in response to request from KCC
                                                                                                    P. 20 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   401 CRTA1-70000301
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   402 CRTA1-70000310
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   403 CRTA1-70000328
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   404 CRTA1-70000336
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   405 CRTA1-70000344
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   406 CRTA1-70000352
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   407 CRTA1-70000360
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   408 CRTA1-70000379
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   409 CRTA1-70000387
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   410 CRTA1-70000395
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   411 CRTA1-70000409
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   412 CRTA1-70000417
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   413 CRTA1-70000425
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   414 CRTA1-70000433
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   415 CRTA1-70000441
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   416 CRTA1-70000450
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   417 CRTA1-70000468
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   418 CRTA1-70000476
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   419 CRTA1-70000484
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   420 CRTA1-70000492
                             submitted in response to request from KCC
                                                                                                    P. 21 of 29
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           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   421 CRTA1-70000506
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   422 CRTA1-70000514
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   423 CRTA1-70000522
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   424 CRTA1-70000530
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   425 CRTA1-70000549
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   426 CRTA1-70000557
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   427 CRTA1-70000565
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   428 CRTA1-70000573
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   429 CRTA1-70000590
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   430 CRTA1-70000603
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   431 CRTA1-70000620
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   432 CRTA1-70000638
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   433 CRTA1-70000646
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   434 CRTA1-70000654
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   435 CRTA1-70000670
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   436 CRTA1-70000689
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   437 CRTA1-70000697
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   438 CRTA1-70000700
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   439 CRTA1-70000719
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   440 CRTA1-70000727
                             submitted in response to request from KCC
                                                                                                    P. 22 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   441 CRTA1-70000735
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   442 CRTA1-70000743
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   443 CRTA1-70000751
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   444 CRTA1-70000760
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   445 CRTA1-70000778
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   446 CRTA1-70000786
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   447 CRTA1-70000794
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   448 CRTA1-70004749
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   449 CRTA1-70004757
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   450 CRTA1-70004765
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   451 CRTA1-70004773
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   452 CRTA1-70004781
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   453 CRTA1-70004790
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   454 CRTA1-70004803
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   455 CRTA1-70004811
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   456 CRTA1-70004820
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   457 CRTA1-70004838
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   458 CRTA1-70004846
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   459 CRTA1-70004854
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   460 CRTA1-70004862
                             submitted in response to request from KCC
                                                                                                    P. 23 of 29
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           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   461 CRTA1-70004870
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   462 CRTA1-70004889
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   463 CRTA1-70004897
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   464 CRTA1-70004900
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   465 CRTA1-70004919
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   466 CRTA1-70004927
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   467 CRTA1-70004935
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   468 CRTA1-70004943
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   469 CRTA1-70004951
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   470 CRTA1-70004960
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   471 CRTA1-70004986
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   472 CRTA1-70004994
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   473 CRTA1-70005001
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   474 CRTA1-70005010
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   475 CRTA1-70005028
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   476 CRTA1-70005036
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   477 CRTA1-70005044
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   478 CRTA1-70005052
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   479 CRTA1-70005060
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   480 CRTA1-70005079
                             submitted in response to request from KCC
                                                                                                    P. 24 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   481 CRTA1-70005087
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   482 CRTA1-70005095
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   483 CRTA1-70005109
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   484 CRTA1-70005117
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   485 CRTA1-70005125
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   486 CRTA1-70005133
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   487 CRTA1-70005150
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   488 CRTA1-70005168
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   489 CRTA1-70005176
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   490 CRTA1-70005184
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   491 CRTA1-70005230
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   492 CRTA1-70005249
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   493 CRTA1-70005257
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   494 CRTA1-70005265
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   495 CRTA1-70005273
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   496 CRTA1-70005281
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   497 CRTA1-70005290
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   498 CRTA1-70005303
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   499 CRTA1-70005311
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   500 CRTA1-70005320
                             submitted in response to request from KCC
                                                                                                    P. 25 of 29
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Direct Purchaser Settlements
Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   501 CRTA1-70005338
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   502 CRTA1-70005354
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   503 CRTA1-70005362
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   504 CRTA1-70005745
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   505 CRTA1-70005753
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   506 CRTA1-70005761
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   507 CRTA1-70005770
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   508 CRTA1-70005788
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   509 CRTA1-70005796
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   510 CRTA1-70005800
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   511 CRTA1-70005818
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   512 CRTA1-70005826
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   513 CRTA1-70005834
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   514 CRTA1-70005842
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   515 CRTA1-70005850
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   516 CRTA1-70005869
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   517 CRTA1-70005877
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   518 CRTA1-70005885
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   519 CRTA1-70005893
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   520 CRTA1-70005907
                             submitted in response to request from KCC
                                                                                                    P. 26 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   521 CRTA1-70005940
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   522 CRTA1-70005958
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   523 CRTA1-70008493
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   524 CRTA1-70008507
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   525 CRTA1-70008515
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   526 CRTA1-70010080
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   527 CRTA1-70010374
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   528 CRTA1-70010390
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   529 CRTA1-70010404
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   530 CRTA1-70010447
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   531 CRTA1-70010471
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   532 CRTA1-70010501
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   533 CRTA1-70010544
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   534 CRTA1-70010595
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   535 CRTA1-70010617
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   536 CRTA1-70010633
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   537 CRTA1-70010650
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   538 CRTA1-70010668
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   539 CRTA1-70010684
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   540 CRTA1-70010692
                             submitted in response to request from KCC
                                                                                                    P. 27 of 29
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           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   541 CRTA1-70010714
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   542 CRTA1-70010749
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   543 CRTA1-70010757
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   544 CRTA1-70010765
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   545 CRTA1-70010773
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   546 CRTA1-70010781
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   547 CRTA1-70010790
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   548 CRTA1-70010811
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   549 CRTA1-70010820
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   550 CRTA1-70010838
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   551 CRTA1-70010846
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   552 CRTA1-70010854
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   553 CRTA1-70010889
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   554 CRTA1-70010935
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   555 CRTA1-70010943
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   556 CRTA1-70010960
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   557 CRTA1-70010994
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   558 CRTA1-70011001
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   559 CRTA1-70011028
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   560 CRTA1-70012954
                             submitted in response to request from KCC
                                                                                                    P. 28 of 29
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Recommended Ineligible Claimants Sorted by Claim ID

           Claim ID                                   Reason for Ineligibility
                             Documentation insufficient to substantiate claim or no documentation
   561 CRTA1-70013098
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   562 CRTA1-70013101
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   563 CRTA1-70013209
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   564 CRTA1-70013241
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   565 CRTA1-90000170
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   566 CRTA1-90000188
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   567 CRTA1-90000218
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   568 CRTA1-90000234
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   569 CRTA1-90000463
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   570 CRTA1-90000978
                             submitted in response to request from KCC
   571 CRTA1-90001346        Claim deemed to be fraudulent

   572 CRTA1-90001370        Claim deemed to be fraudulent

   573 CRTA1-90001389        Claim deemed to be fraudulent

   574 CRTA1-90001397        Claim deemed to be fraudulent

   575 CRTA1-90001443        Claim deemed to be fraudulent
                             Documentation insufficient to substantiate claim or no documentation
   576 CRTA1-90001494
                             submitted in response to request from KCC
                             Documentation insufficient to substantiate claim or no documentation
   577 CRTA1-90001516
                             submitted in response to request from KCC




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